Case 4:13-cr-00691 Document58 Filed on 12

   

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IN THE UNITED STATES DISTRICT COURT Southern Det fa
SOUTHERN DISTRICT OF TEXAS itED
HOUSTON DIVISION DEC 17 2014

Davi
UNITED STATES OF AMERICA dd. Bradley, Clerk of Court

CRIMINAL NO. 13-691

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§
CARLOS WYDLER §
(1-23), §
LEYLA WYDLER §
(a/k/a LEILA M. WYDLER) §
(1-17), §
RITA JESSICA MARTINEZ §
(a/k/a JESSICA MARTINEZ) §
(1-14), §
GILBERT MARTINEZ §
(1, 3-6, 8-14), and §
FELIX MARTINEZ §
(1-2, 5-7, 10-11) §

SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES:

At all times material to this Superseding Indictment:

COUNT ONE
(Conspiracy, 18 U.S.C. §1349)

A. INTRODUCTION
l. The Federal Deposit Insurance Corporation (FDIC) was an agency of the
United States established to protect depositors by insuring the deposits of member

banks against loss up to $100,000 with the purpose of preventing their collapse and

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instilling public confidence in the nation’s banking institutions. The FDIC
insurance fund was backed by the United States government.

2. Farmers and Merchants Bank of Long Beach (FMB) was a federally-insured
financial institution located in Long Beach, California, whose deposits were
insured by the FDIC. FMB was a California-based bank, and all of its branches
were within the state of California.

3. In or about April 2007, CARLOS WYDLER was hired to be the manager
of the credit card department at FMB, and held the title of Vice President. As
credit card manager, CARLOS WYDLER was an officer, agent, and employee of
FMB. CARLOS WYDLER’s maximum lending limit was $75,000.

4, LEYLA WYDLER was married to CARLOS WYDLER’s father and,
thus, CARLOS WYDLER’s stepmother. LEYLA WYDLER was also a licensed
real estate agent in Texas.

5. LEYLA WYDLER and her husband, CARLOS WYDLER’;s father,
owned, operated, and were corporate officers for at least a dozen similarly-named
businesses in the Houston, Texas area including Globan Mortgage Company
(Globan Mortgage), Casa Milagro, First Milagro LP, Plaza Milagro, Milagro in the
Heights, and Milagro Credit Company (the Wydler family business).

6. In mid-2007, LEYLA WYDLER and her husband were seeking funding

and investors for real estate investment projects.
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7, In the summer of 2007, CARLOS WYDLER assisted borrowers in
bypassing bank lending limits by telling borrowers to submit multiple applications
in different names to him for approval. Around the same time, CARLOS
WYDLER, while still employed at FMB, began promoting Wydler family real
estate projects to potential investors.

8. By early fall of 2007, CARLOS WYDLER was approving FMB credit card
applications that were being processed at the Wydler family business office in
Houston, Texas. Credit cards were rarely, if ever, issued. Instead, CARLOS
WYDLER set high credit limits, and issued cash advances for virtually the full
amount of a borrower’s “credit card” limit. After the cash advance was funded,
borrowers paid a portion of the cash advance to the Wydler family business.

9. Many of the credit card applications processed at the Wydler family business
office in Houston, Texas contained fraudulent information about income.

10. CARLOS WYDLER coached co-conspirators how to fill out the fraudulent
income number on FMB credit card applications in order to ensure that
applications were approved for maximum credit lines.

11. LEYLA WYDLER falsified income information, or caused falsified
income information to be made, on FMB credit card applications.

12. Inaddition to providing unsecured loans for Wydler family real estate

projects, over the period of the conspiracy fraudulently obtained FMB funds were
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used to provide more than $1 million in unsecured loans for car and home
purchases.
13. JESSICA MARTINEZ worked as a loan processor for the Wydler family
business.
14. JESSICA MARTINEZ was married to GILBERT MARTINEZ.
GILBERT MARTINEZ was employed at a car dealership called Fusion Autoplex
in Houston, Texas.
15. FELIX MARTINEZ is JESSICA MARTINEZ’ brother. In 2006 and
2007, FELIX MARTINEZ worked as an independent contractor for a company
that he did not own in Houston, Texas.
B. THE CONSPIRACY
From in or about April, 2007, through in or about July, 2008, in the Houston
Division of the Southern District of Texas and elsewhere,
CARLOS WYDLER
LEYLA WYDLER
JESSICA MARTINEZ
GILBERT MARTINEZ
and

FELIX MARTINEZ
defendants herein, did knowingly combine, conspire, confederate, and agree with
others known and unknown to commit the following offense against the United

States, that is: to knowingly execute and attempt to execute a scheme and artifice

to defraud FMB, and to obtain moneys, funds, and credits owned by and under the

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custody and control of FMB, by means of material false and fraudulent pretenses,

~ representations, and promises, in violation of Title 18, United States Code, Section
1344.

C. MANNER AND MEANS OF THE CONSPIRACY

16. The defendants and their co-conspirators sought to accomplish the purpose
of the conspiracy by the following manner and means, among other things:

a. bypassing lending limits by applying for credit, or having other
applicants apply for credit, at different times and/or in different names, including
in the names of non-existent businesses;

b. preparing or causing to be prepared loan applications that contained
false and fraudulent information about income to obtain loans from FMB;

C. preparing or causing to be prepared false and fraudulent documents
such as W2s, pay stubs, and income tax returns to obtain loans from FMB;

d. faxing and emailing fraudulent loan applications to obtain loans from
FMB;

e. emailing false and fraudulent documents such as W2s, pay stubs, and
income tax returns to obtain loans from FMB;

f. depositing fraudulently obtained loan funds into designated bank

accounts via wire transfer and cashier’s check;
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g. collecting money from fraudulently obtained loan funds for their own

benefit and the benefit of others.

D. ACTS IN FURTHERANCE OF THE CONSPIRACY

To achieve the purpose of the conspiracy, the defendants and their co-

conspirators, in the Southern District of Texas and elsewhere, committed and

caused to be committed the following acts in furtherance of the conspiracy:

1.

April 27, 2007

May 1, 2007

May 1, 2007

May 30, 2007

May 31, 2007

May 31, 2007

CARLOS WYDLER emailed LEYLA
WYDLER that he could “give you a line of credit as
high as you want...”

LEYLA WYDLER emailed CARLOS WYDLER that
“we are working on a project in El Salvador to develop
my father’s land and Casa Milagro will be obtaining
financing and promoting the project.”

CARLOS WYDLER emailed LEYLA WYDLER:

“I know you are rich, but simply make sure to write for
me an income higher than $100k a year so you may be
given the maximum line [of credit].”

CARLOS WYDLER’s father emailed CARLOS
WYDLER a brochure “attaching the information for the
sale of the lots. For the sale of each one we can pay a
commission of 4%, that is, 2,400.”

CARLOS WYDLER emailed the brochure to a
potential investor: “As an investor, this is something that
may interest you. You may purchase the land with a loan
and eventually keep one of the homes. I am planning to
buy one; will see how it goes for me.”

CARLOS WYDLER emailed the brochure to another
potential investor “...in case you are interested. Iam
considering buying one, but it would be good if one day a

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May 31, 2007

June 3, 2007

June 6, 2007

Aug, 27, 2007

Aug. 27, 2007

Sept. 4, 2007

few of us would get together and build a large
development. Hopefully this will make us rich.”

CARLOS WYDLER emailed an Executive Vice-
President of FMB asking if FMB could offer his father a
business loan and some business credit cards to help his
father with “some new projects,” and that extending a
$500K credit line would make a “very profitable
customer.”

When the FMB Executive Vice-President declined to
extend loans to CARLOS WYDLER’s father,
CARLOS WYDLER emailed his father that he had
credit authority of 75K for businesses and 25K for
consumers, and that: “It had occurred to me to give you
three lines of 75K... You can refinance it in three credit
cards in the name of the business and even then the
interest was [sic] tax deductible.”

CARLOS WYDLER emailed credit applications to his
father: “For every application I can give you a line of
credit of $50K. If you have two legal entities it would be
a good idea for you to apply with two different ones, in
which you sign as president of one and Leyla signs the
other one. That way I could give you up to $100K.” He
also told his father that if he sent the company’s bank
statements and tax return that “we will not verify that the
income stated matches 100%.”

CARLOS WYDLER received an email from his father
regarding “...what was discussed yesterday, could you
send me by e-mail the credit application for the FMB
card? It appears there is quite a lot of interest.”

CARLOS WYDLER emailed a blank VISA credit card
application to his father.

CARLOS WYDLER emailed Wydler family business
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Sept. 6, 2007

Sept. 26, 2007

Oct. 9, 2007

Oct. 9, 2007

Oct. 12, 2007

associate C.A. telling him “I already have you [sic]
application approved. There are going to be two
accounts, one with 25,000 and the other with 20,000.”

CARLOS WYDLER responded to C.A.’s email request
For a “general outline in order to see how we offer it

to our clients” by saying: “...the way we sell it is like a
revolving line of credit for Balance Transfers or personal
loan...

Pll give you a tip, it can help you for clients that want a
100% financing loan for a house.

An example:

You have a house worth $100,000 dollars. The client has
good credit, and doesn’t have the down payment. You
could go with an 80% loan so you can give him/her the
best rate possible, and the other 20% (20,000) you get
with me at an even lower rate than the loans that are
80/20.

Note that in order to get high lines of credit, it’s
important that the income on the application be higher
than 100,000 per year.”

CARLOS WYDLER emailed C.A. “...following up on
those references because I have not received an
application yet...just so I may be on the lookout in case
they get here I know who they are.”

CARLOS WYDLER’s father emailed him an
attachment about “First Milagro LP” and CARLOS
WYDLER responded: “From what I understand, you
need to get $200k in order to start a partnership and get
the project underway. How much do you need to finalize
the first partnership?”

CARLOS WYDLER’s father emailed him that “T still
need between 50,000 and 100,000.”

CARLOS WYDLER emailed his father that he had sent
the wire for “your personal loan and the funds

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Oct. 24, 2007

Nov. 13, 2007

Nov. 19, 2007

Nov. 19, 2007

Nov. 19, 2007

Dec. 28, 2007

Jan. 4, 2008

Jan. 4, 2008

should be in your account today.”

FELIX MARTINEZ signed or caused to be signed an
FMB loan application that was submitted with false and
fraudulent income information.

LEYLA WYDLER emailed CARLOS WYDLER that
she was attaching another application that “you had
already approved” so it could be processed.

Wydler business associate C.A. emailed CARLOS
WYDLER: “We just emailed you two special
applications. The first and most important, “R.R.” and
wife (Joint Account) who are looking for $47,000 to
$48,000, since they are looking to complete their
partnership investment with us.

CARLOS WYDLER responded to C.A.’s email telling
him: “By the way, one important note is not to mention
about the partnership by E-mail or with EXXXXX, since
she doesn’t know what it is about. It’s not that it’s bad
nor anything, but in time she could have doubt and they
could ask for more requirements.”

*(EX XX XX was an FMB employee who worked in the
credit card department.)

C.A. emailed CARLOS WYDLER: “I’ve only
commented it with you, but I’m going to be more vigilant
about this.”

CARLOS WYDLER emailed his father re: “Milagro in
the Heights: Do you want the line of credit at 5.99%?
How much do you want to send to your Chase account?

A borrower who obtained an FMB loan through the
Wydler family business wired $1,500 of FMB loan
proceeds to Globan Corp.’s Chase Bank account.

JESSICA MARTINEZ emailed CARLOS WYDLER
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Jan. 4, 2008

Jan. 4, 2008

Jan. 15, 2008

Jan. 25, 2008

Jan. 25, 2008

Feb. 28, 2008

that her husband worked in the car business and had
asked about getting car loans “approved with you.”

CARLOS WYDLER emailed JESSICA
MARTINEZ: “We do it differently because all

of our customers prefer to take the unsecured line of
credit for a high amount and they use the funds to buy a
car. They like it better this way because you get the car
title (you have your asset with you)...”

CARLOS WYDLER emailed JESSICA MARTINEZ:
‘“‘We could do it the same way we are doing it with
Globan or work something special that we could actually
send the funds to the dealer.”

JESSICA MARTINEZ emailed a proposed Fusion
Autoplex borrower’s pay check stub, driver’s license and

letter giving wire transfer instructions to CARLOS
WYDLER and LEYLA WYDLER.

CARLOS WYDLER emailed two FMB credit card
employees about a borrower’s application stating: “It’s a
prequal from Leyla and it was approved.”

CARLOS WYDLER responded “Ok.” to the following
email from an FMB credit card employee after FMB
instituted a rule requiring 72 hours between loan
approval and disbursement of loan funds:

“By reading this, it looks like we are bound to the 72
business hours (3 days). We can wait to charge the client
however long you want, but if we are asked for
documentation that shows when we deposited the $5, it
will show that we did it on the same day. How are we
going to cover up this detail? We have to be cautious,
my recommendation is to wait the 3 days for the new
clients of F&M that can be tracked and we’ll continue as
we have been doing until now with the ones from Tx.”

CARLOS WYDLER forwarded his father an email

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4, 2008

6, 2008

10, 2008

12, 2008

14, 2008

14, 2008

14, 2008

originally from FMB’s compliance manager that the
balance transfer program could move forward again.

FELIX MARTINEZ applied for a $75,000 loan in the
name of “FM Fleet Service,” causing FMB to send a wire
of $75,000 to the joint bank account of FELIX
MARTINEZ and his wife in Texas.

GILBERT MARTINEZ applied for a loan in the name
of “G&M Wholesale Services”, causing FMB to wire
$51,000 to the joint bank account of GILBERT
MARTINEZ and JESSICA MARTINEZ in Texas.

FELIX MARTINEZ?’ wife used FMB loan proceeds to
write a check for $7500 payable to Globan Corporation.

$51,000 of FMB loan proceeds in JESSICA and
GILBERT MARTINEZ’ joint bank account was
converted into a cashier’s check payable to FELIX
MARTINEZ and deposited into the joint bank account
of FELIX MARTINEZ and his wife.

FELIX MARTINEZ used the combined loan proceeds
from the $75,000 FM Fleet Service loan referenced in act
32, and the $51,000 G&M loan referenced in acts 33 and
34 to buy a cashier’s check for $121,461.95.

FELIX MARTINEZ used the $121,461.95 cashier’s
check to purchase, mortgage-free, a residential property
located at 26778 Burning Tree in New Caney, Texas.

LEYLA WYDLER was FELIX MARTINEZ’ realtor
for the purchase of 26778 Burning Tree, and received a
realtor’s commission from the transaction.

In violation of Title 18, United States Code, Section 1349.

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COUNTS TWO - SIX
(Bank Fraud, 18 U.S.C. §1344 and 2)

A. INTRODUCTION
1. Paragraphs | through 15 of Count One of this Superseding Indictment
are re-alleged and incorporated by reference as though fully set forth herein.
B. THE SCHEME TO DEFRAUD
2. From in or about April, 2007, and continuing through in or
about July, 2008, in the Houston Division of the Southern District of Texas and

elsewhere,

CARLOS WYDLER
LEYLA WYDLER
JESSICA MARTINEZ
GILBERT MARTINEZ
and

FELIX MARTINEZ
the defendants, aided and abetted by others known and unknown to the grand jury,
did knowingly execute and attempt to execute a scheme and artifice to defraud
FMB, and to obtain moneys, funds, and credits owned by and under the custody
and control of FMB, by means of material false and fraudulent pretenses,
representations, and promises.
C. THE MANNER AND MEANS OF THE SCHEME

3. Paragraph 16 of Count One of this Superseding Indictment is re-alleged and

incorporated by reference herein as a description of the manner and means of the

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scheme and artifice.

D. EXECUTION OF THE SCHEME

4.

On or about the dates specified below, within the Houston Division of

the Southern District of Texas and elsewhere, the defendants, for the purpose of

executing the aforesaid scheme and artifice to defraud, and attempting to do so, did

knowingly execute and attempt to execute the aforesaid scheme and artifice to

defraud FMB and to obtain money, funds, and credits owned by and under the

control of FMB, by means of material false and fraudulent pretenses,

representations, and promises, as more particularly described below:

 

 

 

 

 

 

 

 

J. Martinez, F. Martinez,
and G. Martinez

 

 

Count Defendant Date Description/
Loan Amount
2 C. Wydler, L. Wydler, 10/24/2007 | Loan application for Felix Martinez
J. Martinez, and F. containing false and fraudulent
Martinez income information/
$25,000
3 C. Wydler, L. Wydler, 10/24/2007 | Loan application for Gilbert
J. Martinez, and G. Martinez containing false and
Martinez fraudulent income information/
$25,000
4 C. Wydler, L. Wydler, 12/27/2007 | Loan application for Gilbert
J. Martinez, and G. Martinez containing false and
Martinez fraudulent income information/
$20,000
5 C. Wydler, L. Wydler, 3/4/2008 Loan application for “FM Fleet
J. Martinez, F. Martinez, Service” containing false and
and G. Martinez fraudulent income information/
$75,000
6 C. Wydler, L. Wydler, 3/6/2008 Loan application for “G&M

Wholesale Services” containing
false and fraudulent income
information/$5 1,000

 

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In violation of Title 18, United States Code, Section 1344 and 2.

COUNTS SEVEN - ELEVEN
(False Statement to Obtain Credit, 18 U.S.C. §1014 and 2)

1. From in or about April, 2007, and continuing through in or about July,
2008, in the Houston Division of the Southern District of Texas and elsewhere,
CARLOS WYDLER
LEYLA WYDLER
JESSICA MARTINEZ
GILBERT MARTINEZ
and
FELIX MARTINEZ
aided and abetted by others known and unknown to the grand jury, made and
caused to be made a material false and fraudulent statement for the purpose of
influencing the actions of FMB, a financial institution whose deposits were insured

by the Federal Deposit Insurance Corporation, in connection with loan applications

as more particularly described below:

 

 

 

 

 

 

 

Count Defendant Date Description
7 C. Wydler, L. Wydler, J. | 10/24/2007 | Loan application for Felix Martinez
Martinez, and F. containing false and fraudulent
Martinez income information/
| $25,000
8 C. Wydler, L. Wydler, J. | 10/24/2007 | Loan application for Gilbert
Martinez, and G, Martinez containing false and
Martinez fraudulent income information/
$25,000
9 C. Wydler, L. Wydler, J. | 12/27/2007 | Loan application for Gilbert
Martinez, and G. Martinez containing false and

 

 

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Martinez fraudulent income information/
$20,000
10 C. Wydler, L. Wydler, J. | 3/4/2008 Loan application for “FM Fleet
Martinez, F. Martinez, . Service” containing false and
and G, Martinez fraudulent income information/
$75,000
11 C. Wydler, L. Wydler, J. | 3/6/2008 Loan application for “G&M
Martinez, F. Martinez, Wholesale Services” containing
and G. Martinez false and fraudulent income
information/
$51,000

 

 

 

 

In violation of Title 18, United States Code, Section 1014 and 2.

COUNTS TWELVE - FOURTEEN
(Wire Fraud, 18 U.S.C. §1343 and 2)

A. INTRODUCTION
1. Paragraphs | through 15 of Count One of this Superseding Indictment
are re-alleged and incorporated by reference as though fully set forth herein.
B. THE SCHEME TO DEFRAUD
1. From in or about April, 2007, and continuing through in or
about July, 2008, in the Houston Division of the Southern District of Texas and

elsewhere,

CARLOS WYDLER
LEYLA WYDLER
JESSICA MARTINEZ
GILBERT MARTINEZ

aided and abetted by others known and unknown to the Grand Jury, did knowingly

devise and intend to devise a scheme and artifice to defraud that affected a

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financial institution, and for obtaining money and property by means of material
false and fraudulent pretenses, representations, and promises.
C. THE MANNER AND MEANS OF THE SCHEME

3. Paragraph 16 of Count One of this Superseding Indictment is re-
alleged and incorporated by reference herein as a description of the manner and
means of the scheme and artifice.
D. EXECUTION OF THE SCHEME

4. On or about the dates specified below, within the Houston Division of
the Southern District of Texas and elsewhere, the defendants, for the purpose of
executing the aforesaid scheme and artifice to defraud, and attempting to do so, did
knowingly transmit and cause to be transmitted, by means of wire communications
in interstate and foreign commerce, certain writings, sign, signals, pictures and

sounds, as more particularly described below:

 

 

 

 

 

 

 

 

Count Defendant Date Wire Description

12 C. Wydler, L. Wydler, 3/18/08 $32,000 wire from California to
J. Martinez, and G. Texas
Martinez

13 C. Wydler, L. Wydler, 3/18/08 $35,000 wire from California to
J. Martinez, and G. Texas .
Martinez

14 C. Wydler, L. Wydler, | 3/28/08 $57,000 wire from California to
J. Martinez, and G. Texas
Martinez

 

In violation of Title 18, United States Code, Section 1343 and 2,

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COUNTS FIFTEEN — SEVENTEEN
(Mail Fraud, 18 U.S.C. §1341 and 2)

A. INTRODUCTION

1. Paragraphs | through 15 of Count One of this Superseding Indictment

are re-alleged and incorporated by reference as though fully set forth herein.

B. THE SCHEME TO DEFRAUD

2. From in or about April, 2007, and continuing through in or
about July, 2008, in the Houston Division of the Southern District of Texas and
elsewhere,

CARLOS WYDLER
and
LEYLA WYDLER

aided and abetted by others known and unknown to the Grand Jury, did knowingly
devise and intend to devise a scheme and artifice to defraud and for obtaining
money and property from an FDIC-insured institution, in connection with loan

applications, by means of material false and fraudulent pretenses, representations,

and promises utilizing private and commercial carriers.

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C. THE MANNER AND MEANS OF THE SCHEME

3.

Paragraph 16 of Count One of this Superseding Indictment is re-alleged and

incorporated by reference herein as a description of the manner and means of the

scheme and artifice.

D.

EXECUTION OF THE SCHEME

4. On or about the dates specified below, within the Houston Division of

the Southern District of Texas and elsewhere, the defendants, for the purpose of

executing the aforesaid scheme and artifice to defraud, and attempting to do so, did

knowingly send mail matter utilizing private and commercial carriers as more

particularly described below:

 

 

 

 

 

Wydler

 

 

 

Count Defendant Date Description
15 C. Wydler and L. 6/9/08 Mail matter from California to
Wydler Texas containing $74,000 cashier’s
check
16 C. Wydler and L. 6/9/08 Mail matter from California to
Wydler Texas containing $54,000 cashier’s
check
17 C. Wydler and L. 6/10/08 Mail matter from California to

Texas containing $74,000 cashier’s
check

 

In violation of Title 18, United States Code, Section 1341 and 2.

COUNTS EIGHTEEN —- TWENTY-THREE
(Misappropriation, 18 U.S.C. §656 and 2)

1. Paragraphs 1 through 15 of Count One of this Superseding

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Indictment are re-alleged and incorporated by reference as though fully set forth

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2. On or about the dates specified below,

CARLOS WYDLER

willfully misapplied the moneys and funds of FMB and the moneys and funds

entrusted to the custody and care of FMB, as more particularly described below:

 

 

 

 

 

 

 

 

 

 

Count Date Description

18 3/18/08 | $32,000 wire from California to Texas for unsecured car
loan

19 3/18/08 | $35,000 wire from California to Texas for unsecured car
loan

20 3/28/08 | $57,000 wire from California to Texas for unsecured car
loan

21 6/9/08 $74,000 cashier’s check from FMB in California to
Wydler family business office in Texas

22 6/9/08 $54,000 cashier’s check from FMB in California to
Wydler family business office in Texas

23 6/10/08 | $74,000 cashier’s check from FMB in California to
Wydler family business office in Texas

 

In violation of Title 18, United States Code, Section 656 and 2.

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NOTICE OF FORFEITURE
18 U.S.C. § 982(a)(2)

Pursuant to Title 18, United States Code, Section 982(a)(2), the United

States gives notice to the Defendants

CARLOS WYDLER (Counts 1-23)
LEYLA WYDLER (Counts 1-17)
JESSICA MARTINEZ (Counts 1-14)
GILBERT MARTINEZ (Counts 1, 3-6, 8-14)
FELIX MARTINEZ (Counts 1-2, 5-7, 10-11)
that in the event of conviction of any of the offenses charged in Counts 1 through
23 of this Superseding Indictment, the United States intends to seek forfeiture of
all property constituting or derived from proceeds obtained, directly or indirectly,
as the result of such offenses.
Money Judgment
The Defendants are notified that upon conviction, a money judgment may be
imposed equal to the total value of the property subject to forfeiture, for which the
Defendants may be jointly and severally liable.
Property Subject to Forfeiture
The Defendants are notified that the property subject to forfeiture includes,
but is not limited to, real property known as 26778 Burning Tree, New Caney,

Texas, together with all improvements, buildings, structures and appurtenances,

with a legal description of:

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A tract of land containing 1.102 acres (48,000 square feet), being Lots
816, 817, 818 and 819 of Peach Creek Forest, Section 5, an unrecorded
subdivision situated in the Christopher Bryan Survey, Abstract No. 75,
in Montgomery County, Texas, said 1.102 acre tract (Lots 816, 817, 818
and 819) being that same tract recorded in Montgomery County Clerk’s
File Number (M.C.C.F. No.) 2007-021395.
Substitute Assets
The Defendants are notified that in the event that property subject to
forfeiture, as a result of any act or omission of a Defendant,

(A) cannot be located upon the exercise of due diligence;

(B) has been transferred or sold to, or deposited with, a third party;

(C) has been placed beyond the jurisdiction of the court;

(D) has been substantially diminished in value; or

(E) has been commingled with other property that cannot be divided without
difficulty,

it is the intent of the United States to seek forfeiture of any other property of the
Defendants up to the total value of such property pursuant to Title 21, United
States Code, Section 853(p), incorporated by reference in Title 18, United States
Code, Sections 982(b).

A TRUE BILL
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ORIGINAL SIGNATURE ON FILE

 

/ FOREPERSQW OF THE GRAND JURY

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KENNETH MAGIDSON
United States Attorney

By: Palit Bette
Belinda Beek
Assistant United States Attorney

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